           Case 1:18-cv-05427-JSR Document 180 Filed 05/09/19 Page 1 of 2


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                                                                           I DOCUMENT
SIMO v. uCloudlink, l 8-cv-5427
                                                                          :i   ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
SIMO HOLDINGS INC.,

                            Plaintiff,                                         l 8-cv-5427 (JSR)

                 -v-

HONG KONG UCLOUDLINK NETWORK
TECHNOLOGY LIMITED and UCLOUDLINK
(AMERICA), LTD.,

                            Defendants.                         x




                                             JURY'S VERDICT

A. Patent Invalidity

         1. We the jury)li1d that [check one]:

                    V
                 - - - At       least one Asserted Claim is not invalid

                 - - - All Asserted Claims are invalid


[If you find that at least one Asserted Claim is not invalid, move on to Damages. If you find that
each Claim is invalid, do not fill out the rest of the verdict form except to sign and date it.]

B. Damages

        2. For defendant's infringement of plaintiffs valid patent claims, we the jury award
plaintiff the following compensatory damages:

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                        r          ,


C. Willfulness

         3. We the jury find that ~dants' infringement was:

                  Willful      t_/"          Not Willful - - -
              Case 1:18-cv-05427-JSR Document 180 Filed 05/09/19 Page 2 of 2
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